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                   IN THE tTNITED STATES DISTRICT COURT
                                                                                         OIV.

                   FOR THE SOUTHERN DISTRICT OF GEORGIA                       |q PH [,: (I
                                SAVANNAH DIVISION                   ■iERil
                                                                        SO.O/ST.    ^

THE UNITED STATES OF AMERICA,

                Plaintiff,

                   V.                               4:18CR230


LEROY BRYANT,

                Defendant.




                                     ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters   raised    in    the    parties'   motions   have   been   resolved       by-

agreement.     Therefore,        a   hearing   in     this   case     is     deemed

unnecessary.    All motions are dismissed.



     SO ORDERED,        this   I3L   day of February,    2019.



                                        [TED S-^ATES MAGISTRATE .^UDGE
                                      ?OUTHERN DISTRICT OF GEORGIA
